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                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF FLORIDA
                            MIAMI DIVISION

 MACK WELLS and
 MAURICE SYMONETTE,

       Plaintiff,

 v.                                        Case No.: 1:24-cv-23015-SC

 U.S. BANK N.A. ET AL.,

             Defendants.
                                      /

                            OPINION AND ORDER

       Before the Court are two Motions to Dismiss. One is filed by Judges

 Spencer Eig and Vivianne Del Rio (“State Defendants”). (Doc. 4).      A second is

 filed by Judges Jose E. Martinez and Eduardo Sanchez as well as Mary Ann

 Casale, and AUSA Jonathan Bailyn (“Federal Defendants”).                (Doc. 7).

 Defendant U.S. Bank, N.A. (Doc. 10) and Defendant Juan Fernandez-Barquin

 (Doc. 19) join both Motions. Plaintiffs, proceeding pro se, have failed to respond

 to either Motion timely.

       Plaintiffs’ Complaint consists of mostly jumbled ramblings, so it is hard

 to pinpoint exactly what they are alleging occurred. But from what the Court

 can gather, this action is just another in a string of frivolous cases brought by

 Plaintiffs. In short, Plaintiffs wish to void a foreclosure sale of real property

 that took place almost a year ago. Plaintiffs first tried and failed at the state
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 court to accomplish this goal. When that failed, they concocted a narrative

 about how the state court judiciary and various other parties are in the pockets

 of U.S Bank, and that all those involved conspired to take Plaintiffs’ property.

 Given this purported conspiracy, Plaintiffs brought an action in federal court

 against U.S. Bank and its “co-conspirators” in another attempt to void the

 foreclosure. See Wells et al. v. U.S. Bank, N.A. et al., 1:23-cv-22640-JEM. They

 have been unsuccessful to date. 1 However, Plaintiffs are not ones to give up.

 In their view, the adverse rulings by U.S. District Judge Jose Martinez and

 U.S. Magistrate Judge Eduardo Sanchez meant only one thing: these judges

 must also be part of the conspiracy. So they now bring this case 2 seeking to

 void the foreclosure alleging fraud and conspiracy involving, among others,

 U.S. Bank, two federal judges, two state judges, a court reporter, the Miami-

 Dade County Clerk of Court, and an Assistant United States Attorney.

        This is not a unique case for Plaintiffs. To the contrary, they are serial

 filers of frivolous lawsuits, and their modus operandi appears to be actions

 seeking to either prevent or reverse a foreclosure. See Symonette et al. v. Auora


 1This case is still open, but it is stayed. Before the stay, the court denied Plaintiffs’
 Emergency Motion to Void Foreclosure Sale in Violation for Sanctions Against U.S. Bank for
 Violating Federal Stay and Willful Contempt in Violation of 28 U.S. Code SS 1446(d) and to
 Void Sale Because of Forgery and Fraud, Emergency Motion for to Void Sale for Violation of
 Notice of Removal Stay Using Forgery and Fraud, and Emergency Motion for to Void Sale for
 Violation of Notice of Removal Stay Using Forgery and Fraud. See Wells et al. v. U.S. Bank,
 N.A. et al., 1:23-cv-22640-JEM, Docs. 55, 63.

 2 Plaintiffs originally filed in state court, but the Federal Defendants removed it here under

 28 U.S.C. §§ 1442(a)(1) and (3).


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 Loan Services, LLC, 1:12-cv-21980-MGC, Doc. 39 (S.D. Fla. Aug. 1, 2012)

 (dismissing case involving foreclosure proceeding for repeated failure to comply

 with court orders); Symonette et al. v. Boss Grp. Ministries, 1:13-cv-23017-UU,

 Doc. 4 (S.D. Fla. Aug. 26, 2013) (dismissing plaintiffs’ shotgun pleading that

 “seems to entail the same transaction (foreclosure) at issue in an earlier-filed

 suit dismissed by this Court”); Wells et al. v. Am. Hom Mortg. Services, Inc. et

 al. 1:13-cv-23240-WJZ (S.D. Fla. Nov. 20, 2013) (recommending dismissal of

 plaintiffs’ attempt to prevent foreclosure of property on Younger abstention

 grounds); Symonette et al. v. JP Morgan Chase Bank, 0:13-cv-61554-JIC, Doc.

 47 (S.D. Fla. Jan. 15, 2014) (dismissing case involving “a lengthy and oft-

 delayed foreclosure proceeding” on shotgun pleading grounds); Symonette et al.

 v. JP Morgan Chase Bank, 0:13-cv-60834-RNS, Docs. 5, 8 (S.D. Fla. February

 21, 2014) (dismissing complaint seeking to halt an ongoing foreclosure process

 in state court under the Younger abstention and Rooker-Feldman doctrines);

 Symonette et al. v. Aurora Loan Services, LLC, 1:13-cv-24142-PCH, Doc. 25

 (S.D. Fla. July 1, 2014) (dismissing case seeking to attack foreclosure judgment

 and observing “Plaintiffs’ history of abusive litigation tactics” and “apparent

 lack of validity to any of Plaintiffs’ claims”); Symonette et al. v. Littlejohn, 1:13-

 cv-23220-MGC, Doc. 22 (S.D. Fla. Sept. 30, 2014) (dismissing claims “related

 to a state court foreclosure judgment” under the Rooker-Feldman doctrine);

 Symonette et al. v. Indy Mac Bank et al., 1:18-cv-23615-CMA, Doc. 9 (S.D. Fla.


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 Sept. 28, 2018) (dismissing “quintessential shotgun pleading” that was “replete

 with conclusory and vague facts” and “a rambling incoherent grouping of

 claims against a state court judge, state court clerk of court, and several banks

 and financial institutions, regarding the foreclosure of Plaintiffs’ property”);

 Wells et al. v. U.S. Bank, N.A. et al., 1:23-cv-22640-JEM, Docs. 55, 63 (S.D. Fla.

 July 2, 2024) (rejecting plaintiffs’ attempts to void the foreclosure sale); Wells

 et al. v. U.S. Bank, N.A., 1:24-cv-22532-RAR, Doc. 6 (S.D. Fla. July 8, 2024)

 (dismissing complaint that alleges conspiracy involving the Governor and the

 Miami-Dade County Clerk of Court on shotgun pleading grounds and lack of

 jurisdiction). 3 Given Plaintiffs’ extensive litigation history, one would expect

 they are now well-versed in the pleading standards. Not so.

        Although the Motions to Dismiss raise multiple bases for dismissal, the

 Court focuses on one: shotgun pleading. Together, Rules 8 and 10 lay out the

 minimum pleading requirements. A complaint must have “a short and plain

 statement of the claim showing that the pleader is entitled to relief.” Fed. R.

 Civ. P. 8(a)(2). And each “party must state its claims or defenses in numbered

 paragraphs, each limited as far as practicable to a single set of circumstances.”

 Fed. R. Civ. P. 10(b). Violations of these rules sometimes create confusing




 3 To state the obvious, this list does not delve into the various state-court cases Plaintiffs

 have filed over the years.


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 complaints, known as “shotgun pleadings.” Weiland v. Palm Beach Cnty.

 Sheriff’s Office, 792 F.3d 1313, 1322-23 (11th Cir. 2015).

       The Eleventh Circuit has identified four categories of shotgun pleadings:

 (1) a complaint “containing multiple counts where each count adopts the

 allegations of all preceding counts”; (2) a complaint that is “replete with

 conclusory, vague, and immaterial facts not obviously connected to any

 particular cause of action”; (3) a complaint that does not separate each cause

 of action or claim for relief into a different count; and (4) a pleading which

 asserts “multiple claims against multiple defendants without specifying which

 of the defendants are responsible for which acts or omissions, or which of the

 defendants the claim is brought against.” Id. at 1321-23. Ultimately, the

 common theme of all shotgun pleadings is that “they fail in one degree or

 another, and in one way or another, to give the defendants adequate notice of

 the claims against them and the grounds upon which each claim rests.” Id. at

 1323. Such is the case here.

       The Complaint is made up of incoherent, ambiguous, and unorganized

 ramblings about how various state and federal officials are being paid off by

 U.S. Bank (and several other banks that are not party to the case) simply to

 deprive Plaintiffs of their property. At other points, Plaintiffs go on unhinged

 tangents about unrelated matters, such as that Plaintiff Symonette is a prince

 because his grandfather was the first Black Prime Minister of the Bahamas;


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 that they have conducted fundraisers for Republican politicians on their four-

 story, eighty-foot yacht; that some Defendants are plotting to kill them; and

 that Wachovia Bank is a “slave master of black people.” (Doc. 1-3 at 30, 31, 33,

 34).   The Complaint is not broken into separate paragraphs and largely

 consists of run-on sentences. And while there are buzzwords throughout, such

 as “conspiracy” and “fraud,” there is no actual cause of action or claim asserted

 against any Defendant. Put simply, there is no way that the Defendants could

 be expected to formulate a response to such mumbo jumbo. See Beckwith v.

 Bellsouth Telecommunications Inc., 146 F. App’x 368, 371 (11th Cir. 2005)

 (“The failure to identify claims with sufficient clarity to enable the defendant

 to frame a responsive pleading constitutes a ‘shotgun pleading.’”).

        No doubt Plaintiffs’ Complaint is a shotgun pleading. But the question

 remains whether the Court should grant them leave to amend. On the one

 hand, courts hold the pleadings of pro se litigants, like Plaintiffs, to a less

 stringent standard than pleadings drafted by attorneys.         Tannenbaum v.

 United States, 148 F.3d 1262, 1263 (11th Cir. 1998). And courts normally grant

 leave to amend when there is a chance the pro se litigant can allege a plausible

 claim for relief. See Bell v. Fla. Highway Patrol, 325 F. App’x 758, 760 (11th

 Cir. 2009). But this leniency has its limits. For instance, “where a litigant has

 a history of bringing vexatious, or unmeritorious litigation, a court may

 consider that history in assessing whether a claim should be dismissed and


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 leave to amend should be granted.” Clervrain v. Lee, No. 6:21-MC-108-WWB-

 LRH, 2022 WL 2306847, at *3 (M.D. Fla. Jan. 19, 2022), report and

 recommendation adopted sub nom. 2022 WL 2306725 (Mar. 29, 2022) (citing

 Miller v. Donald, 541 F.3d 1091, 1101 (11th Cir. 2008)). Such is the case here.

       As discussed earlier, plaintiffs are no strangers to federal court or

 litigation. In fact, they file practically the same case repeatedly—to void a

 state foreclosure action based on fraud and conspiracy. Their cases have been

 frequently dismissed on shotgun pleading grounds. This one is no different.

 Given Plaintiffs’ borderline vexatious-litigation history and their recurring

 inability to craft a coherent pleading, Plaintiffs’ claims are dismissed with

 prejudice.   Cf. Smith v. DeSantis, No. 4:22-CV-176-AW-MAF, 2022 WL

 2806549, at *4 (N.D. Fla. June 9, 2022), report and recommendation adopted

 as modified, 2022 WL 2803654 (July 18, 2022); Emrit v. Universal Music Grp.,

 No. 8:19-CV-2562-T-33SPF, 2020 WL 4751446, at *7 (M.D. Fla. Aug. 17, 2020),

 aff’d, 833 F. App’x 333 (11th Cir. 2021).

       Accordingly, it is now

       ORDERED:

       1.     Defendants Judge Spencer Eig and Judge Vivianne Del Rio’s

              Motion to Dismiss (Doc. 4) is GRANTED.




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       2.    Defendants Judge Jose E. Martinez, Judge Eduardo Sanchez,

             Mary Ann Casale, and AUSA Jonathan Bailyn’s Motion to Dismiss

             (Doc. 7) is GRANTED.

       3.    Plaintiffs’ Complaint is DISMISSED with prejudice.

       4.    The Clerk is DIRECTED to deny all pending motions as moot,

             terminate any deadlines, and close the case.

       DONE and ORDERED in Miami, Florida on October 4, 2024.




 Copies: All Parties of Record




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